






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00806-CR








Linda Wallace, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 9024138, HONORABLE JON N. WISSER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Linda Wallace pleaded guilty to possessing four grams of heroin with intent
to deliver.  See Tex. Health &amp; Safety Code Ann. § 481.112(a), (d) (West 2003).  The district court
found her guilty and assessed punishment, enhanced by two previous felony convictions, at twenty-five years in prison.  See Tex. Pen. Code Ann. 12.42(d) (West Supp. 2004).  Appellant's only
contention on appeal is that the court erred by enhancing her punishment pursuant to section 12.42(d)
because the State failed to prove that she was the person convicted in one of the two earlier cases. 
We will affirm.

The two previous convictions used to enhance appellant's punishment were Travis
County cause numbers 61,686 and 49,335.  Appellant's conviction in cause number 49,335 was
proved by comparing her known fingerprints with the fingerprints contained in a penitentiary packet
that also contained a certified copy of the judgment of conviction in that cause.  Appellant does not
challenge the sufficiency of the evidence with respect to this conviction.  At issue is the sufficiency
of the evidence with respect to cause number 61,686.

The State alleged that on August 29, 1991, in the 147th District Court of Travis
County, appellant was convicted in cause number 61,686 for obtaining a controlled substance by
fraud.  At trial in the instant case, the State introduced its exhibit 4, containing certified copies of the
indictment, judgment of probation, and judgment revoking probation in Travis County cause number
61,686. (1)  On the indictment, above the cause number, there is the typed notation "80-2723/106__." 
The numbers following the "106" were obliterated when holes were punched in the indictment,
presumably for filing purposes.  The documents in State's exhibit 4 reflect that on July 22, 1981, in
cause number 61,686, a person named Linda Wallace was adjudged guilty of obtaining a controlled
substance by fraud in the 126th District Court of Travis County; that on August 24, 1981, she was
sentenced to eight years in prison but placed on probation; and that on August 29, 1991, in the 147th
District Court of Travis County, her probation was revoked and sentence imposed.

The question remains whether the State proved that appellant is the Linda Wallace
convicted in cause number 61,686.  To prove this, the State first introduced its exhibit 2, a booking
record showing that Linda Wallace, a white female aged 32, was arrested on September 27, 1980,
for obtaining a controlled substance by fraud.  The fingerprint on this card was shown to match
appellant's known print.  Hand printed on the card is the notation "8-24-81, 8 yrs. prob."  This
appears to be a reference to the judgment of probation in cause number 61,686, but that cause
number does not appear on the booking record.  Instead, it bears cause number 106518.

The State also introduced its exhibits 5 and 6.  State's exhibit 5 is a personal bond for
Linda Wallace, white female aged 32, charged with obtaining a controlled substance by fraud.  It is
dated September 28, 1980, and bears cause number 106518.  State's exhibit 6 is a printed
magistrate's warning showing that on September 27, 1980, Linda Wallace was advised of her rights
in cause number 106518, obtaining a controlled substance by fraud.  In addition to the cause number,
the magistrate's warning also refers to "DA# 80-2723."  Derrick Bateman, the case coordinator for
the 299th District Court, testified that exhibits 5 and 6 were contained in the file and part of the
record in Travis County cause number 61,686.

State's exhibits 2, 5, and 6 demonstrate that appellant was arrested for obtaining a
controlled substance by fraud on September 27, 1980, advised of her rights, and released on bond
the following day.  At that time, the offense was assigned cause number 106518.  That this was the
same offense later assigned cause number 61,686 upon indictment is shown by the identity of name
and offense; the presence on the indictment of the first three digits of cause number 106518 and the
"DA number" contained in the magistrate's warning; the correlation between the date of appellant's
arrest as shown by the booking record (September 27, 1980), and the date the offense was committed
in cause number 61,686 as recited in the judgment (September 23, 1980); the notation on the
booking record of the date of conviction and punishment assessed in cause number 61,686; and the
testimony of the case coordinator that appellant's personal bond and magistrate's warning were part
of the record in cause number 61,686.  Viewing all this evidence in the light most favorable to the
court's finding, we conclude that a rational trier of fact could find beyond a reasonable doubt that
appellant was the person previously convicted in Travis County cause number 61,686.  See Jackson
v. Virginia, 443 U.S. 307, 324 (1979) (standard of review); Griffin v. State, 614 S.W.2d 155, 158-59
(Tex. Crim. App. 1981) (same).

The point of error is overruled and the judgment of conviction is affirmed.



				__________________________________________

				Mack Kidd, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Affirmed

Filed:   March 25, 2004

Do Not Publish
1.        Appellant objected to the admission of exhibit 4, but the objection was overruled.  Although
the court did not expressly state that the exhibit was admitted in evidence, that was the clear effect
of its ruling.  Appellant's assertion that State's exhibit 4 was not admitted in evidence is without
merit.


